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                EXHIBIT 70
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

  GOVERNMENT OF THE UNITED STATES
  VIRGIN ISLANDS,
                                                        Case No. 22-cv-10904-JSR
                 Plaintiff,

  v.

  JPMORGAN CHASE BANK, N.A.,

                  Defendant/Third-Party Plaintiff.



  JPMORGAN CHASE BANK, N.A.,


                  Third-Party Plaintiff,

  v.

  JAMES EDWARD STALEY,

                 Third-Party Defendant.


                          JPMORGAN CHASE BANK, N.A.’S
                    FOURTH SUPPLEMENTAL INITIAL DISCLOSURES

       Pursuant to Federal Rule of Civil Procedure 26(a)(1), Defendant/Third-Party Plaintiff

JPMorgan Chase Bank, N.A. (“JPMorgan”) makes the following fourth supplemental initial

disclosures to Plaintiff Government of the United States Virgin Islands (“USVI” or “Plaintiff”) and

Third-Party Defendant James Edward Staley (“Staley” or “Third-Party Defendant”).

       The disclosures made herein are based upon information reasonably available to JPMorgan

at the present stage of this litigation and the issues as currently defined by the complaint. JPMorgan

reserves the right to supplement, revise, or otherwise amend the information contained herein as


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discovery continues.

        By making these disclosures, JPMorgan does not represent that it is identifying every

 document, tangible thing, or witness that may be relevant to the issues in this action, or on which

 JPMorgan may rely in support of its claims or defenses. Nor does JPMorgan waive its rights to

 object to production of any document or tangible thing disclosed on the basis of any valid objection

 (including but not limited to any privilege, the work-product doctrine, relevancy, hearsay, undue

 burden, or any other proper ground) or its rights to object to the use of any information disclosed

 for any purpose, in whole or in part, in any subsequent proceeding in this action or in any other

 action. JPMorgan also reserves the right to object on any and all proper grounds to any other

 discovery request or proceeding involving or relating to the subject matter of these disclosures

 consistent with the Federal Rules of Civil Procedure and the Local Rules for the United States

 District Court for the Southern District of New York.

        JPMorgan’s disclosures represent its good faith effort to identify information it reasonably

 believes is required by Fed. R. Civ. P. 26(a)(l). The disclosures set forth below are made subject

 to the above objections and qualifications.

   I.   INDIVIDUALS WITH KNOWLEDGE

        Based on information reasonably available at this time, JPMorgan identifies the following

 individuals who may be likely to have discoverable information that JPMorgan may use to support

 its claims or defenses, unless such use is solely for impeachment. In making these disclosures,

 JPMorgan does not waive its right to object, pursuant to any applicable Federal Rule of Civil

 Procedure or Local Rule, to the deposition or trial testimony of any of the individuals listed below.

        JPMorgan does not consent to or authorize communication by the Plaintiff with the

 individuals identified below. Each of the individuals identified below can be reached through
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    counsel for JPMorgan.

           Because discovery, investigation, and analysis of these matters is ongoing, JPMorgan

    reserves the right to supplement this information if additional information later becomes known

    and to designate and/or call further witnesses at trial. JPMorgan also reserves the right to seek

    discovery from, and relating to, other persons that may subsequently become known as persons

    likely to have discoverable information relevant to the disputed facts.


                       Name                                          Subject Matter
     Corporate representative of JPMorgan           JPMorgan’s onboarding, retention, and exit of
     Chase Bank, N.A.                               Jeffrey Epstein’s accounts and accounts related
                                                    to Jeffrey Epstein.
     Corporate representative of JPMorgan           JPMorgan’s policies and procedures relating to
     Chase Bank, N.A.                               the private bank’s recruitment, onboarding, and
                                                    retention of clients.
     Corporate representative of JPMorgan           JPMorgan’s policies and procedures relating to
     Chase Bank, N.A.                               monitoring and reporting account activity of
                                                    private banking clients.
     Corporate representative of JPMorgan           JPMorgan’s Anti-Money Laundering (“AML”)
     Chase Bank, N.A.                               Compliance program and AML Compliance
                                                    policies and procedures.
     Erdoes, Mary (CEO Asset & Wealth               JPMorgan’s private banking client relationship
     Management)                                    with Jeffrey Epstein.

                                                    Mr. Staley’s involvement in JPMorgan’s
                                                    banking relationship with Jeffrey Epstein. 1
     Langford, William∗ (former Director            AML compliance work that JPMorgan
     (Global Anti-Money Laundering); Global         performed relating to Jeffrey Epstein’s accounts
     Head (Compliance); Head (Enterprise            and accounts related to Jeffrey Epstein.
     Financial Crimes Compliance); and
     General Counsel (Global Compliance and         Mr. Staley’s involvement in JPMorgan’s
     Regulatory Management))                        banking relationship with Jeffrey Epstein.


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  JPMorgan has identified those individuals who, at this point in the litigation, may have
information uniquely related to its breach of fiduciary duty and faithless servant claims against Mr.
Staley. All witnesses may have information related to the underlying claims of the USVI for which
JPMorgan seeks contribution or indemnity. JPMorgan does not waive its rights to further amend or
supplement these disclosures through discovery.
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                                               Transaction information relating to Jeffrey
    McHugh, Patrick (Executive Director, JP
                                               Epstein’s account activity at JPMorgan and
    Morgan Private Bank)
                                               accounts related to Jeffrey Epstein.
    Morris, Paul∗ (former Banker (Private      JPMorgan’s private banking client relationship
    Bank))                                     with Jeffrey Epstein.
                         *
    Staley, James Edward (former CEO           JPMorgan’s private banking client relationship
    (Private Bank); CEO (Investment Bank);     with Jeffrey Epstein.
    CEO (Asset Management); Global Head        Jeffrey Epstein’s involvement in recruiting other
    (Asset & Wealth Management); Head          private banking clients for JPMorgan.
    (Private Bank))
                                               Mr. Staley’s involvement in JPMorgan’s banking
                                               relationship with Jeffrey Epstein.
                                               Knowledge of Jeffrey Epstein’s activities as
                                               alleged by Plaintiff USVI and Jane Doe 1 (in
                                               Case No. 22-cv-10019).
                                               Third-Party Defendant.
    Stephen Cutler* (former Executive Vice     JPMorgan’s private banking relationship with
    President, General Counsel)                Epstein.

                                               JPMorgan’s retention and exit of Jeffrey
                                               Epstein’s accounts and accounts related to
                                               Jeffrey Epstein.

                                               Mr. Staley’s involvement in JPMorgan’s
                                               banking relationship with Jeffrey Epstein.
    Mary Casey (Managing Director, Private     JPMorgan’s private banking client relationship
    Bank)                                      with Jeffrey Epstein.

                                               Mr. Staley’s involvement in JPMorgan’s
                                               banking relationship with Jeffrey Epstein.
    Justin Nelson (Managing Director and       JPMorgan’s private banking client relationship
    Head of Asset Management and Financial     with Jeffrey Epstein.
    Principals Coverage, Private Bank)
                                               Mr. Staley’s involvement in JPMorgan’s
                                               banking relationship with Jeffrey Epstein.




*
  These individuals no longer work at JPMorgan and may be separately represented. To the extent
these individuals are separately represented, JPMorgan will provide contact information for their
counsel when available.
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Jonathan Schwartz* (former General         Mr. Staley’s involvement in JPMorgan’s
Counsel, Investment Bank)                  banking relationship with Jeffrey Epstein.




Catherine Keating* (former CEO, Private    Mr. Staley’s involvement in JPMorgan’s
Bank)                                      banking relationship with Jeffrey Epstein.




John Duffy* (former CEO, Private Bank)     Mr. Staley’s involvement in JPMorgan’s
                                           banking relationship with Jeffrey Epstein.




Anne Verdon (former General Counsel,       Mr. Staley’s involvement in JPMorgan’s
Private Bank)                              banking relationship with Jeffrey Epstein.




Jane Doe 1 (Plaintiff in Case No. 22-cv-   Mr. Staley’s alleged sexual abuse of Jane Doe 1
10019)                                     and others through his relationship with Jeffrey
                                           Epstein.



Jane Doe 1 (Plaintiff in Case No. 22-cv-   Mr. Staley’s alleged sexual abuse of Jane Doe 1
10018)                                     and others through his relationship with Jeffrey
                                           Epstein.



                                           Tax exemptions and associated negotiations
Governor Albert Bryan, Jr.
                                           made to and with Jeffrey Epstein.
                                           Tax exemptions and associated negotiations
Former Governor John de Jongh
                                           made to and with Jeffrey Epstein.
                                           Epstein’s contacts with USVI Government
Sebastiano Paiewonsky-Cassinelli
                                           officials including Former Governor John de
                                           Jongh.
                                           IBE licenses granted and associated
John McDonald
                                           negotiations made to and with Jeffrey Epstein in
                                           his capacity as Director of the Office of the
                                           Lieutenant Governor, Division of Banking and
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                                         Insurance.

                                         Economic incentives and associated business
Cecile René Galiber-de Jongh
                                         deals made or proposed to and with Jeffrey
                                         Epstein. Donations Jeffrey Epstein made to
                                         various officials and organizations in the United
                                         States Virgin Islands. Complaints submitted to
                                         Jeffrey Epstein’s office about his associated
                                         corporations or personal activity. Account
                                         activity for Jeffrey Epstein’s associated
                                         organizations, including Southern Trust
                                         Company.
                                         Economic incentives and associated business
Jeanne Brennan
                                         deals made or proposed to and with Jeffrey
                                         Epstein. Account activity for Jeffrey Epstein’s
                                         associated organizations, including Southern
                                         Trust Company and Financial Trust Company.
Representative of United States Virgin   Permits and exemptions related to Jeffery
Islands Water and Power Authority        Epstein and his privately owned island in the
                                         United States Virgin Islands.
Stacey Plaskett                          Interactions with Epstein in individual capacity,
                                         as General Counsel for Economic Development
                                         Authority, and as United States Virgin Islands
                                         Delegate.
Former Governor Kenneth Mapp             Interactions with Epstein in individual capacity
                                         and as Governor of USVI.
Dawn Henry                               Interactions with Epstein in individual capacity
                                         and as Commissioner of the USVI Department
                                         of Planning and Natural Resources.
Ronald Russell                           Interactions with Epstein and Epstein associates
                                         in individual capacity and as State Senator in
                                         USVI.
James O’Bryan Jr.                        Interactions with Epstein and Epstein associates
                                         in individual capacity and as State Senator in
                                         USVI.
Celestino White                          Interactions with Epstein in individual capacity,
                                         as State Senator in USVI, Port Authority board
                                         member, former USVI Chief of Police, and
                                         member of Kenneth Mapp’s transition team.
Carlton Dowe                             Interactions with Epstein in individual capacity
                                         and as Executive Director of the Port Authority
                                         and former State Senator in the USVI.


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Gloria Lambert                             Interactions with and supervision of Epstein in
                                           her capacity as Cyril E. King Airport
                                           supervisor.
[First Name Unknown] Carpenter             Interactions with and supervision of Epstein in
                                           his/her capacity as Cyril E. King Airport
                                           supervisor.
JP Oriol                                   Interactions with Epstein in individual capacity,
                                           as Director of Coastal Zone Management, and
                                           Commissioner of Department of Planning and
                                           Natural Resources.
Sandra Bess                                Interactions with Epstein in individual capacity,
                                           through audit of Epstein-related entity in 2014,
                                           as Economic Development Commission
                                           compliance officer with the USVI Economic
                                           Development Authority.
Representative of United States Virgin     Permits issued to and investigations related to
Islands Department of Planning and Natural Jeffrey Epstein.
Resources
Alicia Barnes                              Interactions with Epstein in individual capacity,
                                           as Assistant CEO of the EDA and as the former
                                           Commissioner of the DPNR.
Robert Mathes                              Interactions with Epstein in individual capacity,
                                           and as the former Commissioner of the DPNR.
Representative of United States Virgin      Information related to Jeffrey Epstein’s status as
Islands Department of Justice               a registered sex offender and any complaints,
                                            reports, investigations, interviews, and other
                                            information received about Jeffrey Epstein.
Wayne Anderson                              Interactions with Epstein or his counsel
                                            concerning Mr. Epstein’s input on the language
                                            of the USVI sex offender registration
                                            legislation.
Monica Carbon                               Interactions with Epstein or his counsel in
                                            individual capacity and as an employee of USVI
                                            DOJ involved in sex offender monitoring.
Vincent Frazer                              Interactions with Epstein or his counsel in
                                            individual capacity and as Attorney General for
                                            USVI under John de Jongh.
Denise George                               Interactions with Epstein or his counsel in
                                            individual capacity and as Attorney General for
                                            USVI under Governor Albert Bryan.
Carol Thomas-Jacobs                         Interactions with Epstein or his counsel in
                                            individual capacity and as Deputy Attorney
                                            General and Acting Attorney General for USVI
                                            under Governors Kenneth Mapp and Albert

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                                        Bryan.

Shanni Pinney                           Interactions with Epstein in individual capacity
                                        and as the Sex Offender Registry Program
                                        Manager; Information related to Jeffrey
                                        Epstein’s status as a registered sex offender, and
                                        any complaints, reports, investigations,
                                        interviews, and other information received
                                        about Jeffrey Epstein.
Kevin Augustin                          Interactions with Epstein in individual capacity
                                        and as a Territorial Manager with the Sex
                                        Offender Registry Office.
Inais Borque                            Interactions with Epstein in individual capacity
                                        and as an investigator with the Sex Offender
                                        Registry Office.
Merlyn Petty                            Interactions with Epstein in individual capacity
                                        and as an employee with the Sex Offender
                                        Registry Office.
T’Niqua Rogers                          Interactions with Epstein in individual capacity
                                        and as a special agent for the USVI DOJ
                                        involved in monitoring Epstein as a registered
                                        sex offender.
United States Virgin Islands Economic   Economic development tax incentives received
Development Authority                   or requested by Jeffrey Epstein and any
                                        attendant negotiations.
Margarita Benjamin                      Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Stephanie Berry                         Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Wayne Biggs                             Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Percival Clouden                        Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Kamal Latham                            Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Tracy Lynch Bhola                       Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Jennifer Nugent-Hill                    Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
Joy Penn                                Economic development tax incentives received
                                        or requested by Jeffrey Epstein.
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Shanell Petersen                             Economic development tax incentives received
                                             or requested by Jeffrey Epstein.
Semele George                                Economic development tax incentives received
                                             or requested by Jeffrey Epstein.
Henry Smock                                  Economic development tax incentives received
                                             or requested by Jeffrey Epstein.
United States Virgin Islands Police          Complaints, reports, investigations, interviews,
Department                                   and other derogatory information received about
                                             Jeffrey Epstein.
United States Virgin Islands Department of   Information relating to Jeffrey Epstein
Human Services
United States Virgin Islands Department of   Information relating to Jeffrey Epstein
Health
Financial Crimes Enforcement Network         Information concerning reports of financial
                                             transactions of Jeffrey Epstein and related
                                             individuals and entities
U.S. Customs and Border Protection           Information concerning passengers on Jeffrey
                                             Epstein’s aircraft and visitors to his residence
Federal Bureau Of Investigation              Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
United States Attorney’s Office For The      Information concerning law enforcement
Southern District Of New York                actions and investigations into Epstein and
                                             related entities.
United States Attorney’s Office For The      Information concerning law enforcement
Southern District Of Florida                 actions and investigations into Epstein and
                                             related entities.
Palm Beach Sheriff’s Office                  Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
Palm Beach Police Department                 Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
Virgin Islands Department Of Justice         Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
Santa Fe County Sherriff’s Office            Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
New York Police Department                   Information concerning law enforcement
                                             actions and investigations into Epstein and
                                             related entities.
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 Manhattan District Attorney’s Office            Information concerning law enforcement
                                                 actions and investigations into Epstein and
                                                 related entities.
 The Epstein Estate                              Information concerning Epstein and related
                                                 entities.
 The Epstein Victims Compensation                Information concerning claims made by victims
 Program                                         against Epstein and their resolution.
 Andrew Farkas                                   Information concerning Epstein’s activities in the
                                                 USVI including Epstein’s involvement in the
                                                 ownership and management of entities that
                                                 received tax benefits from the USVI.
 Maria Hodge                                     Information related to Epstein’s activities in the
                                                 USVI as former personal attorney to Epstein.
 Erika Kellerhals                                Information related to Epstein’s activities in the
                                                 USVI as former personal attorney to Epstein.
 Clive Rivers                                    Information related to Epstein’s activities in the
                                                 USVI as former personal attorney to Epstein.

       In addition to the above-named individuals, all persons deposed in this case and other

persons identified in the documents described in Section II below may have discoverable

information that JPMorgan may use to support its claims or defenses. JPMorgan reserves the right

to modify and supplement the foregoing list and to identify and call as witnesses additional persons

if, during the course of discovery and investigation relating to this case, JPMorgan learns that such

additional persons have knowledge or information that JPMorgan may use to support its claims or

defenses.

       Further, JPMorgan also reserves the right to call as witnesses individuals in addition to

those identified herein to the extent such witnesses are required to authenticate an exhibit offered

into evidence or to establish chain of custody of an exhibit offered into evidence. JPMorgan also

may rely on expert witnesses, to be disclosed in accordance with Federal Rule of Civil Procedure

26(a)(2), to support its claims or defenses. JPMorgan specifically reserves the right to call any

deponent or declarant in this action as a trial witness to testify regarding matters covered in his/her

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deposition or declaration and/or to rely on any such testimony in support of its claims or defenses

in this case. JPMorgan further specifically reserves the right to call any individual(s) identified in

the Plaintiff’s disclosures, including as amended.

 II.    CATEGORIES OF RELEVANT DOCUMENTS

        At present, JPMorgan believes that the following documents, electronically stored

information, and tangible things may be used to support JPMorgan’s claims or defenses, unless

such use is solely for impeachment. This disclosure does not include documents solely within the

Plaintiff’s or the Third-Party Defendant’s possession, custody, or control. This disclosure does

not include expert materials that may be or have been developed, which will be disclosed pursuant

to Federal Rule of Civil Procedure 26(a)(2). This disclosure does not constitute an admission as

to the existence, relevance, or admissibility of the identified materials or a waiver of any attorney-

client privilege, work product protection, or other applicable privilege or immunity.

          1) Documents, communications, and electronically stored information relating to

              JPMorgan’s AML compliance program and other policies and practices.

          2) Documents, communications, and electronically stored information relating to

              Jeffrey Epstein’s accounts and accounts related to Jeffrey Epstein at JPMorgan.

          3) Documents, communications, and electronically stored information relating to

              James Staley’s employment, compensation, and duties at JPMorgan, including

              JPMorgan policies and codes of conduct.

          4) Documents, communications, and electronically stored information relating to

              James Staley’s communications with or about Jeffrey Epstein.

JPMorgan will make the foregoing documents available for inspection or copying at a time and

place to be mutually agreed upon by the parties, subject to any applicable privacy or other
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restrictions and to the extent they are non-privileged and in JPMorgan’s possession, custody, and

control. JPMorgan has produced Mr. Staley’s personnel file which includes Mr. Staley’s Code of

Conduct affirmations and information regarding Mr. Staley’s compensation, and points Mr. Staley to

the following documents in support of its claims:

             JPM-SDNYLIT-00178143–JPM-SDNYLIT-00178494

             JPM-SDNYLIT-00202227–JPM-SDNYLIT-00204753

             JPM-SDNYLIT-00204821–JPM-SDNYLIT-00204836

        In addition to the above-described documents, JPMorgan expects that, during the course

of discovery, experts will identify documents used to support their opinions pertaining to the

issues in this case. Further, JPMorgan may rely upon publicly available documents and documents

that have been identified in the initial disclosures of any other party or may be obtained through

discovery or are otherwise produced by the Plaintiff and/or third parties.

        Because discovery, investigation, and analysis of these matters are ongoing, JPMorgan

expects to discover additional documents and/or tangible things upon which it may rely to support

its claims or defenses, including documents from the Third-Party Defendant, who has not yet

produced any documents in this case. JPMorgan therefore reserves the right to supplement this

information accordingly.

        Notwithstanding this identification of these categories of documents, JPMorgan reserves the

right to object to any of the Plaintiff’s discovery requests on related topics to the extent such requests

are overly broad, unduly burdensome, and/or call for documents beyond the scope of JPMorgan’s

discovery obligations under the Federal Rules of Civil Procedure or the Local Rules, and/or any

other applicable basis for objection.



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    III.    CALCULATION OF DAMAGES

            USVI v. JPMorgan:

            Not applicable.

            JPMorgan v. Staley:

           As stated in its Third-Party Complaint, JPMorgan seeks the following damages from Staley:

              1) All damages awarded to the USVI as discussed in Section 3 of USVI’s Supplemental

                  Initial Disclosures dated March 22, 2023.

              2) Damages for breach of fiduciary duty, including all damages awarded to the USVI as

                  discussed in Section 3 of USVI’s Supplemental Initial Disclosures dated March 22,

                  2023, all costs of defending the USVI v. JPMorgan Chase Bank, N.A. litigation to be

                  determined after JPMorgan’s liability has been decided, and reputational damage

                  from the litigation to be determined based on expert testimony. 2

              3) All compensation paid by JPMorgan to Staley from 2006 through 2013, which

                  JPMorgan has calculated at this time based on the documents it has produced (see

                  supra) to be approximately not less than $140,000,000.

              4) Punitive damages in an amount to be determined at trial.

    IV.     INSURANCE

            Insurance agreements under which an insurance business may be liable to satisfy all or

    part of a possible judgment in this action or to indemnify or reimburse for payments made to

    satisfy any judgment in this action have been made available for inspection and copying and can

    be found at the following Bates numbers:


2
  JPMorgan is currently determining the damages it has suffered and will suffer as a result of this
litigation and will amend these disclosures when it has a reasonable calculation of those damages.
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JPM-SDNYLIT-00762790       JPM-SDNYLIT-00763652        JPM-SDNYLIT-00764454
JPM-SDNYLIT-00762803       JPM-SDNYLIT-00763672        JPM-SDNYLIT-00764455
JPM-SDNYLIT-00762885       JPM-SDNYLIT-00763693        JPM-SDNYLIT-00764462
JPM-SDNYLIT-00762920       JPM-SDNYLIT-00763718        JPM-SDNYLIT-00764463
JPM-SDNYLIT-00762932       JPM-SDNYLIT-00763729        JPM-SDNYLIT-00764464
JPM-SDNYLIT-00762944       JPM-SDNYLIT-00763736        JPM-SDNYLIT-00764465
JPM-SDNYLIT-00762958       JPM-SDNYLIT-00763749        JPM-SDNYLIT-00764466
JPM-SDNYLIT-00762974       JPM-SDNYLIT-00763750        JPM-SDNYLIT-00764467
JPM-SDNYLIT-00763005       JPM-SDNYLIT-00763751        JPM-SDNYLIT-00764468
JPM-SDNYLIT-00763064       JPM-SDNYLIT-00763752        JPM-SDNYLIT-00764470
JPM-SDNYLIT-00763075       JPM-SDNYLIT-00763782        JPM-SDNYLIT-00764496
JPM-SDNYLIT-00763086       JPM-SDNYLIT-00763823        JPM-SDNYLIT-00764511
JPM-SDNYLIT-00763104       JPM-SDNYLIT-00763942        JPM-SDNYLIT-00764521
JPM-SDNYLIT-00763127       JPM-SDNYLIT-00763945        JPM-SDNYLIT-00764536
JPM-SDNYLIT-00763149       JPM-SDNYLIT-00763970        JPM-SDNYLIT-00764548
JPM-SDNYLIT-00763184       JPM-SDNYLIT-00763997        JPM-SDNYLIT-00764561
JPM-SDNYLIT-00763199       JPM-SDNYLIT-00764006        JPM-SDNYLIT-00764575
JPM-SDNYLIT-00763222       JPM-SDNYLIT-00764013        JPM-SDNYLIT-00764582
JPM-SDNYLIT-00763224       JPM-SDNYLIT-00764043        JPM-SDNYLIT-00764587
JPM-SDNYLIT-00763225       JPM-SDNYLIT-00764046        JPM-SDNYLIT-00764593
JPM-SDNYLIT-00763231       JPM-SDNYLIT-00764063        JPM-SDNYLIT-00764713
JPM-SDNYLIT-00763244       JPM-SDNYLIT-00764100        JPM-SDNYLIT-00764832
JPM-SDNYLIT-00763257       JPM-SDNYLIT-00764101        JPM-SDNYLIT-00764950
JPM-SDNYLIT-00763288       JPM-SDNYLIT-00764102        JPM-SDNYLIT-00765068
JPM-SDNYLIT-00763326       JPM-SDNYLIT-00764103        JPM-SDNYLIT-00765186
JPM-SDNYLIT-00763337       JPM-SDNYLIT-00764104        JPM-SDNYLIT-00765305
JPM-SDNYLIT-00763352       JPM-SDNYLIT-00764105        JPM-SDNYLIT-00765434
JPM-SDNYLIT-00763353       JPM-SDNYLIT-00764106        JPM-SDNYLIT-00765587
JPM-SDNYLIT-00763357       JPM-SDNYLIT-00764133        JPM-SDNYLIT-00765588
JPM-SDNYLIT-00763373       JPM-SDNYLIT-00764156        JPM-SDNYLIT-00765721
JPM-SDNYLIT-00763375       JPM-SDNYLIT-00764188        JPM-SDNYLIT-00765735
JPM-SDNYLIT-00763388       JPM-SDNYLIT-00764308        JPM-SDNYLIT-00765864
JPM-SDNYLIT-00763395       JPM-SDNYLIT-00764332        JPM-SDNYLIT-00765871
JPM-SDNYLIT-00763408       JPM-SDNYLIT-00764341        JPM-SDNYLIT-00765876
JPM-SDNYLIT-00763526       JPM-SDNYLIT-00764366        JPM-SDNYLIT-00765880
JPM-SDNYLIT-00763564       JPM-SDNYLIT-00764397        JPM-SDNYLIT-00765886
JPM-SDNYLIT-00763565       JPM-SDNYLIT-00764414        JPM-SDNYLIT-00766054
JPM-SDNYLIT-00763566       JPM-SDNYLIT-00764440        JPM-SDNYLIT-00766187
JPM-SDNYLIT-00763596       JPM-SDNYLIT-00764443        JPM-SDNYLIT-00766193
JPM-SDNYLIT-00763599       JPM-SDNYLIT-00764444        JPM-SDNYLIT-00766336
JPM-SDNYLIT-00763608       JPM-SDNYLIT-00764451        JPM-SDNYLIT-00766362
JPM-SDNYLIT-00763615       JPM-SDNYLIT-00764452        JPM-SDNYLIT-00766379
JPM-SDNYLIT-00763632       JPM-SDNYLIT-00764453        JPM-SDNYLIT-00766403
                                                       JPM-SDNYLIT-00766410
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JPM-SDNYLIT-00766484       JPM-SDNYLIT-00768856        JPM-SDNYLIT-00773337
JPM-SDNYLIT-00766569       JPM-SDNYLIT-00768868        JPM-SDNYLIT-00773340
JPM-SDNYLIT-00766574       JPM-SDNYLIT-00768892        JPM-SDNYLIT-00773356
JPM-SDNYLIT-00766657       JPM-SDNYLIT-00768963        JPM-SDNYLIT-00773476
JPM-SDNYLIT-00766798       JPM-SDNYLIT-00769341        JPM-SDNYLIT-00773595
JPM-SDNYLIT-00766805       JPM-SDNYLIT-00769423        JPM-SDNYLIT-00773713
JPM-SDNYLIT-00766857       JPM-SDNYLIT-00769443        JPM-SDNYLIT-00773831
JPM-SDNYLIT-00766877       JPM-SDNYLIT-00769474        JPM-SDNYLIT-00773949
JPM-SDNYLIT-00767011       JPM-SDNYLIT-00769634        JPM-SDNYLIT-00774068
JPM-SDNYLIT-00767145       JPM-SDNYLIT-00769750        JPM-SDNYLIT-00774204
JPM-SDNYLIT-00767281       JPM-SDNYLIT-00769911        JPM-SDNYLIT-00774307
JPM-SDNYLIT-00767424       JPM-SDNYLIT-00769946        JPM-SDNYLIT-00774461
JPM-SDNYLIT-00767446       JPM-SDNYLIT-00770041        JPM-SDNYLIT-00774626
JPM-SDNYLIT-00767464       JPM-SDNYLIT-00770190        JPM-SDNYLIT-00774909
JPM-SDNYLIT-00767472       JPM-SDNYLIT-00770200        JPM-SDNYLIT-00774933
JPM-SDNYLIT-00767486       JPM-SDNYLIT-00770348        JPM-SDNYLIT-00774953
JPM-SDNYLIT-00767508       JPM-SDNYLIT-00770482        JPM-SDNYLIT-00774973
JPM-SDNYLIT-00767597       JPM-SDNYLIT-00770502        JPM-SDNYLIT-00774992
JPM-SDNYLIT-00767621       JPM-SDNYLIT-00770562        JPM-SDNYLIT-00775011
JPM-SDNYLIT-00767626       JPM-SDNYLIT-00770662        JPM-SDNYLIT-00775041
JPM-SDNYLIT-00767686       JPM-SDNYLIT-00770692        JPM-SDNYLIT-00775081
JPM-SDNYLIT-00767844       JPM-SDNYLIT-00770725        JPM-SDNYLIT-00775111
JPM-SDNYLIT-00767963       JPM-SDNYLIT-00770757        JPM-SDNYLIT-00775118
JPM-SDNYLIT-00768057       JPM-SDNYLIT-00770782        JPM-SDNYLIT-00775137
JPM-SDNYLIT-00768136       JPM-SDNYLIT-00770805        JPM-SDNYLIT-00775172
JPM-SDNYLIT-00768203       JPM-SDNYLIT-00770827        JPM-SDNYLIT-00775187
JPM-SDNYLIT-00768362       JPM-SDNYLIT-00771149        JPM-SDNYLIT-00775219
JPM-SDNYLIT-00768503       JPM-SDNYLIT-00773075        JPM-SDNYLIT-00775248
JPM-SDNYLIT-00768533       JPM-SDNYLIT-00773204        JPM-SDNYLIT-00775278
JPM-SDNYLIT-00768648       JPM-SDNYLIT-00773207        JPM-SDNYLIT-00775304
JPM-SDNYLIT-00768664       JPM-SDNYLIT-00773209        JPM-SDNYLIT-00775311
JPM-SDNYLIT-00768690       JPM-SDNYLIT-00773215        JPM-SDNYLIT-00775338
JPM-SDNYLIT-00768721       JPM-SDNYLIT-00773224        JPM-SDNYLIT-00775352
JPM-SDNYLIT-00768744       JPM-SDNYLIT-00773240        JPM-SDNYLIT-00775376
JPM-SDNYLIT-00768769       JPM-SDNYLIT-00773263        JPM-SDNYLIT-00775404
JPM-SDNYLIT-00768793       JPM-SDNYLIT-00773275        JPM-SDNYLIT-00787742
JPM-SDNYLIT-00768815       JPM-SDNYLIT-00773293
JPM-SDNYLIT-00768842       JPM-SDNYLIT-00773318




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Dated: May 30, 2023                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2023, the foregoing document, entitled “Defendant’s

Fourth Supplemental Initial Disclosures to Plaintiff, Government of the United States Virgin

Islands,” was served in accordance with the Federal Rules of Civil Procedure and/or the Local

Rules of the United States District Court for the Southern District of New York upon the attorneys

for the plaintiff in the above-entitled action by electronic mail.


DATED:         May 30, 2023
               Boston, MA
                                                                     By: /s/ Felicia H. Ellsworth




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